                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION

 In re:                                        )
                                               )    Case No. 21-31333
           JAMES D. BULGER,                    )
                                               )    Chapter 7
                 Debtor.                       )

 OBJECTION TO MOTION TO DISMISS BANKRUPTCY CASE WITH PREJUDICE
   PURSUANT TO 11 U.S.C. § 349(a) AND MODIFICATION OF REQUEST FOR
            INJUNCTION AGAINST REFILING BANKRUPTCY

          James D. Bulger (the “Debtor”) objects to the Motion to Dismiss Bankruptcy Case with

Prejudice Pursuant to 11 U.S.C. § 349(a) and Modification of Request for Injunction Against

Refiling Bankruptcy, Docket No. 65 (the “Amended Motion”) filed by Pike Road Investments,

LLC (“Pike Road”) and John William Kitchens (“Kitchens” and together with Pike Road,

collectively, the “Joining Parties”). In further support for this objection, the Debtor states as

follows:


                                 Procedural and Factual History


          1.     The Debtor commenced this case on August 5, 2021 (the “Petition Date”). See

Voluntary Petition, Docket No. 1.


          2.     The BA filed the Motion on September 22, 2021, with a hearing date on October

26, 2021 (the “Initial Hearing”).


          3.     The Debtor filed his Objection to Bankruptcy Administrator’s Motion to Dismiss,

Docket No. 29, on October 21, 2021.




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       4.      The Joining Parties filed their Joinder on Sunday, October 24, 2021; less than two

days prior to the Initial Hearing.


       5.      At the Initial Hearing, the Court reset the Motion for evidentiary hearing on

November 18, 2021 (the “Final Hearing”). See Docket No. 35.


       6.      On the same day as the Initial Hearing, the Debtor served interrogatories and

requests for production of documents (collectively, the “Debtor’s Discovery Requests”) on the

Joining Parties. A true and correct copy of the Debtor’s Discovery Requests is attached hereto as

Exhibit A.


       7.      In Interrogatory No. 6, the Debtor asked the Joining Parties to “Identify all legal or

equitable grounds on which you intend to rely in prosecuting the Motion.” See Exhibit A.


       8.      On Friday afternoon, November 5, 2021, the Joining Parties produced 2,299 pages

of non-Bates Stamped documents ostensibly evidencing the allegations in the Joinder (the “First

Document Responses”).


       9.      On Monday afternoon, November 8, 2021, the Joining Parties produced an

additional 228 pages of non-Bates Stamped documents (the “Second Document Responses” and

together with the First Document Responses, collectively, the “Document Responses”).


       10.     The Joining Parties responded to the interrogatories in the Discovery Requests (the

“Interrogatory Responses” and together with the Document Responses, collectively, the

“Discovery Responses”) on Monday, November 8, 2021.              A true and correct copy of the

Interrogatory Responses is attached hereto as Exhibit B.




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       11.     In the Interrogatory Responses, the Joining Parties responded to Interrogatory No.

6 but did not disclose any of the new legal grounds that the Joining Parties allege in the Amended

Motion.


       12.     On November 10, 2021, the Debtor filed his Motion to Continue Hearing on Motion

to Dismiss, Docket No. 41 (the “Motion to Continue”).


       13.     The Court heard and considered the Motion to Continue on November 15, 2021,

and continued the Final Hearing to November 30, 2021. See Docket No. 57.


       14.     The Court additionally set an amended schedule for disclosure of exhibits and

witnesses for November 23, 2021. Id.


       15.     On November 22, 2021 – the day before the parties were to disclose witnesses and

exhibits – and thus effectively after the opportunity to develop evidence had closed, the Joining

Parties materially amended the Joinder and their allegations and asked for new and additional relief

not previously requested.


                                             Objection


       16.     In the Amended Motion the Joining Parties request that the Court go beyond the

initial refiling injunction of 6 months pursuant to § 109(g), and enjoin the Debtor from refiling for

a period of two years, ostensibly pursuant to § 349(a). See Amended Motion, ¶¶ 37-48.


       17.     These are two different forms of relief. See Aurora Loan Servs. v. Amey (In re

Amey), 314 B.R. 864, 867 (Bankr. N.D. Ga. 2004); see also In re Singer, 00-08620-6B3, 2001




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Bankr. LEXIS 2044 at *5 (Bankr. M.D. Fla. August 1, 2001) (distinguishing bad faith for § 349(a)

purposes as “egregious misconduct, contemptuousness, malfeasance or systemic abuse.”).


         18.     First, a court cannot enjoin refiling for a period of longer than 180 days. See In re

Frieouf, 938 F.2d 1099, 1102-04 (10th Cir. 1991) (restricting a court’s ability to dismiss with an

injunction against refiling to a period of 180 days); but see Casse v. Key Bank Nat'l Ass'n (In re

Casse), 198 F.3d 327 (2d Cir. 1999) (holding that a court can enjoin refiling for longer than 180

days).


         19.     Second, the Joining Parties’ amendments seeking new or additional relief after they

commenced the litigation is generally not permitted. See generally Newsome ex rel. Bell v.

Barnhart, 444 F. Supp. 2d 1195, 1203 n.7 (M.D. Ala. 2006) (refusing to consider additional issues

not raised in the initial pleadings and to which the opposing party did not have an opportunity to

respond).


         20.     In the Joinder and in the Discovery Responses, the Joining Parties did not mention

or allege any relief seeking to enjoin the Debtor from refiling for more than 180 days, nor did the

Joining Parties mention or allege a finding that the Debtor’s current debts would be non-

dischargeable.


         21.     The Court should prohibit such last-minute changes in allegations and relief sought.




                                                       /s/ Bill D. Bensinger
                                                       Bill D. Bensinger
                                                       Attorney for James D. Bulger

OF COUNSEL:


                                                   4
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CHRISTIAN & SMALL LLP
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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 29, 2021 a copy of the foregoing was electronically filed
with the Clerk of the Court using the CM/ECF System which sends notification of such filing to
counsel of record in this cause, and those not registered with CM/ECF for electronic notification
have been served at their regular mailing address via email or U.S. Mail, postage prepaid, as
follows:

United States Bankruptcy Administrator
Frank M. Johnson, Jr
Federal Building & U.S. Courthouse
One Church Street
Montgomery AL 36104

Von G. Memory
Wm. Wesley Causby
MEMORY MEMORY & CAUSBY, LLP
P.O. Box 4054
Montgomery, Alabama 36103

Garrick L. Stotser
Massey, Stotser & Nichols, PC
1780 Gadsden Highway
Birmingham, Alabama 35235

Jim T. Norman, III
Law offices of Jim T. Norman, III, LLC
872 Gillespie Street
Prattville, Alabama 36067

Carly Wilkins
Chapter 7 Trustee
Carly B. Wilkins, P.C.
560 S. McDonough St.; Suite A
Montgomery, Alabama 36104

                                                    /s/ Bill D. Bensinger
                                                    Bill D. Bensinger




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE MIDDLE DISTRICT OF ALABAMA

In re:                                             )
                                                   )   Case No. 21-31333-BPC
         JAMES D. BULGER,                          )
                                                   )   Chapter 7
                   Debtor.                         )

     DEBTOR’S FIRST DISCOVERY REQUESTS TO JOHN WILLIAM KITCHENS

         Pursuant to Rules 26, 33, and 34 of the Federal Rules of Civil Procedure, made applicable

in this Contested Matter pursuant to Rules 9014, 7026, 7033, and 7034 of the Federal Rules of

Bankruptcy Procedure, James D. Bulger hereby requests that John William Kitchens, respond to

the Interrogatories and Requests for Production in accordance with the Federal Rules of Civil

Procedure and the definitions and instructions set forth below.


                                             Definitions


         1.        “Bankruptcy Case” shall mean the bankruptcy case styled In re James D. Bulger,

case no. 21-31333-BPC, pending in the Bankruptcy Court.


         2.        “Bankruptcy Court” shall mean the United States Bankruptcy Court for the Middle

District of Alabama.


         3.        “Debtor” shall mean James D. Bulger.


         4.        “J. Kitchens” shall mean John William Kitchens.


         5.        “Love” shall mean Jesse Love.




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         6.        “Motion” shall mean that certain Joinder in the Bankruptcy Administrator’s Motion

to Dismiss this Bankruptcy Case and Request for Issuance of an Injunction Against Refiling,

Docket No. 30, filed by the Movants.


         7.        “Movants” shall mean Pike Road and J. Kitchens.


         8.        “Pike Road” shall mean Pike Road Investments, LLC.


         9.        “State Court” shall mean the Circuit Court of Autauga County, Alabama.


         10.       “State Court Case” shall mean that certain case styled Pike Road Investments, LLC,

et al, v. James D. Bulger, case no. 04-cv-2021-900069.00-BAF, pending in the State Court.


         11.       “State Court Plaintiffs” shall mean any and all plaintiffs in the State Court Case.


         12.       “Document” or “Documents” shall have the meaning prescribed by Rule 7034 of

the Federal Rules of Bankruptcy Procedure, including, without limitation, any tangible thing upon

which any expression, communication or representation has been recorded by any means

including, but not limited to, handwriting, typewriting, printing, photostating, photographing,

videotaping, magnetic impulse, computer disks, computer storage drives, computer tapes, or

mechanical, electronic or digital recording or information storage of any kind, and any non-

identical copies (whether different from the original because of notes made on such copies, because

of indications that said copies were sent to different individuals than were the originals, or because

of any other reason), including but not limited to working papers, preliminary, intermediate or

final drafts, correspondence, memoranda, electronic mail, charts, notes, records of any sort of

meetings, financial calculations, diaries, reports of telephone or other oral conversations, desk




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calendars, appointment books, and all other writings and recordings of every kind that are in your

actual or constructive possession, custody, or control.


         13.       “Identify” when referring to a Document means to state that Document’s title, date,

author, recipient, and a summary of the Document.


         14.       “Identify” when referring to a natural person means to state the person’s first and

last name and the person’s current address and telephone number, or if the current address or

telephone number are not known, the last known one(s).


         15.       “Identify” when referring to facts means to state, in as much detail as possible, all

facts and information that you know or believe to support the referenced matter or allegation,

including the date of any event, all Communications, and all circumstances relating to such

matter(s) or allegation(s).


         16.       “Identify” when referring to a Communication means to state, in as much detail as

possible, the date and time of the Communication, each of the parties to the Communication, the

physical location of the parties during the Communication, the physical means by which the

Communication transpired (e.g., in person, telephone, mailed letter, hand-delivered letter, fax, e-

mail, etc.), and the verbatim content of the Communication, or if the verbatim content is not

available, a detailed and accurate summary of the Communication.


         17.       “Relating to” and “Concerning” each mean, in addition to their usual and customary

meanings, concerning, relating to, discussing, mentioning, evidencing, embodying, constituting,

effecting, referring to, assessing, recording, analyzing, describing, evaluating, memorializing,

about, regarding, touching upon, listing, or reflecting the matter specified in the Request.



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         18.       “You” or “Your” shall refer to any person to whom these Documents requests have

been addressed and all of their current and former affiliates, parents, direct or indirect subsidiaries,

members, officers, directors, representatives, employees, agents, consultants, accountants,

attorneys, financial advisors, predecessors, successors, assigns and any other person currently or

formerly acting or purporting to act on the Person’s behalf for any purpose whatsoever.


         19.       “Any” or “each” should be understood to include and encompass “all;” “or” should

be understood to include and encompass “and;” and “and” should be understood to include and

encompass “or.”


         20.       The singular form of a word shall include the plural form, and the plural form shall

include the singular form.


         21.       The use of the present tense includes the past tense, the use of the past tense shall

include the present tense, and the use of any verb in any tense shall be construed as including the

use of that verb in all other tenses.


                                    Instructions for Interrogatories


         1.        Each Interrogatory shall be construed independently and not with reference to any

other Interrogatory.


         2.        The Debtor hereby expressly reserves the right to supplement these Interrogatories

and to propound new Interrogatories, to the extent permitted by law.




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         3.        Any objection to any Interrogatory or any part thereof shall state with specificity

the grounds for the objection. All information called for by those portions of the Interrogatory to

which there is no objection shall be answered.


         4.        If you cannot answer in full the following Interrogatories, after exercising due

diligence to secure the information necessary to do so, so state and answer to the fullest extent

possible, specifying your inability to answer the remainder and stating whatever information or

knowledge you have concerning the unanswered portions.


         5.        Each Interrogatory seeks information in your possession, custody or control,

including but not limited to those information in the custody or possession of current or former

members, subsidiaries, parents, affiliates, divisions, predecessors, successors, officers, directors,

agents, employees, representatives, consultants, or investigators, or your attorneys or their agents,

employees, representatives or investigators.


         6.        If you are aware of documents and/or information responsive to these

Interrogatories, which is not available to you or subject to your reasonable access or control,

identify any information you may have regarding the location and possessor of such documents

and/or information. If the addresses and telephone numbers of an individual or source identified

in your responses are available, please provide them.


         7.        If in answering these Interrogatories, you claim any ambiguity in interpreting either

an Interrogatory or a definition or instruction applicable thereto, you shall not use such claims as

a basis for refusing to respond, but shall identify as part of the response the language deemed to

be ambiguous and the interpretation chosen or used in responding to the Interrogatory.




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         8.        If you object to any part of an Interrogatory, produce information responsive to all

parts of the Interrogatory to which you do not object, indicating what is being withheld and the

reason it is being withheld.


         9.        These Interrogatories shall be deemed continuing in nature as specified in Fed. R.

Bankr. P. 7026(e), so as to require supplementation if you or your attorneys or agents become

aware of, receive or generate additional Documents responsive to these requests after the time of

the initial response.


         10.       If You contend that any Interrogatory asks for information that is privileged or

otherwise need not be revealed, please note the privilege or failure to reveal as an objection to the

Interrogatory and comply with the Interrogatory to the extent that it is not subject to the objection.

In addition, please supply the Debtor with a written description of the information for which a

limitation of discovery is claimed, indicating:


                   (a)    The name of the writer, sender or initiator of each such document or

communication, if any;


                   (b)    The name of the person in custody or charge or possession of each such

document, if any;


                   (c)    The name of the recipient, addressee or party for whom such document or

communication was intended, if any;


                   (d)    The date of each such document or communication, if any, or the date of

manufacture of each such document. (If you are not sure of the date of a communication, or if no

date appears on any such document, estimate a date.);


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                   (e)      The general subject matter of each such communication or the general

subject matter of each such document. With respect to documents, if no description appears, then

such other description sufficient to identify said document;


                   (f)      The name, business address and position of each person who has

information about the communication or contents or nature of any such document; and


                   (g)      The nature and grounds of the privilege or other reason for refusal to reveal

such information that you assert in support of your objection.


                                   Instructions for Document Requests


         1.        Unless otherwise specified in any request, the requests seek Documents generated,

transmitted or received.


         2.        Each request for Documents requires the production of all Documents described

herein, in your possession, custody or control, including but not limited to those Documents in the

custody or possession of current or former members, direct or indirect subsidiaries, parents,

affiliates,    divisions,    predecessors,    successors,   officers,   directors,   agents,   employees,

representatives, consultants, or investigators, or your attorneys or their agents, employees,

representatives or investigators.


         3.        All Documents are to be produced as kept in the usual course of business or

organized and labeled to correspond to the specific requests set forth below.


         4.        In responding to each request, if any Document requested has been amended

(including by an amendment and restatement), or any waiver, consent, supplement, forbearance or




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other similar instrument has been entered into in connection with such Document, furnish each

such amendment, amendment and restatement, waiver, consent, supplement, forbearance, or other

similar instrument.


         5.        In responding to each request, furnish all exhibits, schedules, annexes, appendices,

or any other ancillary Documents related to each Document produced.


         6.        All drafts of responsive Documents must be produced, as well as all non-identical

copies. Any comment, notation, or other marking shall be sufficient to distinguish Documents that

are otherwise similar in appearance and to make them separate Documents for purposes of your

response. Likewise, any draft, preliminary form, or superseded version of any Document is also to

be considered a separate Document.


         7.        To the extent applicable, furnish executed versions of each Document requested.


         8.        The file folder or other container in which a Document is kept is deemed to be an

integral part of the Document and shall be produced with the Document.


         9.        Each paragraph and subparagraph hereof and the definitions herein are to be

construed independently, and not by or with reference to any paragraph or subparagraph or

definition herein for purposes of limiting the scope of any particular request or the subject matter

thereof.


         10.       If, in answering these requests, you claim any ambiguity in interpreting either these

requests or a definition or instruction applicable thereto, you shall not use such claims as a basis

for refusing to respond, but shall identify as part of the response the language deemed to be

ambiguous and the interpretation chosen or used in responding to the request.


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         11.       If any requested Document or thing cannot be produced in full, produce it to the

extent possible, indicating what is being withheld and the reason it is being withheld.


         12.       If you object to any part of a Document request, produce Documents responsive to

all parts of the request to which you do not object.


         13.       These Document requests shall be deemed continuing so as to require

supplementation if you or your attorneys or agents become aware of, receive or generate additional

Documents responsive to these requests after the time of the initial response.


         14.       If any Document called for by these requests is withheld under a claim of privilege

or protection, that Document need not be produced but you shall with respect to that Document:


                   a.     identify each person who prepared or participated in the preparation of the

Document, and the date the Document was created;


                   b.     identify each person who ever sent or received the Document;


                   c.     state the present location of the Document and all copies thereof;


                   d.     describe the nature of the Document; and


                   e.     state the grounds asserted as the reason for non-production, and explain and

substantiate the claim of privilege, so as to permit adjudication of the propriety of that claim.


         15.       If there are no Documents responsive to a specific request, so state in writing.


         16.       If any Document requested was, but is no longer in your possession, custody or

control, state the subject matter of the Document, what disposition was made of it, and the date or



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dates on which such disposition was made. Additionally, produce all Documents concerning the

disposition of such Document.


         17.       If you are unable to locate any Document requested, state all efforts that have been

made to locate it, and identify any individual who you believe is likely to possess any information

regarding the present location of the Document.


         18.       If you know of any Documents responsive to a particular request but cannot

produce them, so state, produce the Documents within your possession, custody or control on the

subject matter sought, and identify each person whom you believe has Documents responsive to

the request.


         19.       For Documents maintained in paper format, the following specifications should be

used for production:


                   a.     Scanned images should be produced as single-page black-and-white TIFF

files in group IV format imaged at 300 dpi (or color JPEG).


                   b.     Each filename must be unique and match the Bates number of the page. The

filename should not contain any blank spaces and should be zero padded (for example

ABC00000001).


                   c.     Each production volume should have its own unique name and a consistent

naming convention (for example ZZZ001 or SMITH001).


                   d.     To the extent that Documents have been run through Optical Character

Recognition (OCR) software in the course of reviewing the Documents for production, full text




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should also be delivered for each Document. Text should be delivered on a Document level and

may be included in an appropriately formatted text file (.TXT) that is named to match the first

Bates number of the Document.


         20.       For Documents that originated and are maintained in electronic format

(“Electronically Stored Information”), the following specifications should be used for production:


                   a.            Documents should be produced in such fashion as to identify the location

(i.e., the network file folder, hard drive, backup tape, or other location) where the Documents are

stored and, where applicable, the natural person in whose possession they were found, or on whose

hardware device they reside or are stored. If the storage location was a file share or work group

folder, that should be specified as well.


                   b.            Attachments, enclosures, and/or exhibits to any parent Documents should

also be produced and proximately referenced to the respective parent Documents containing the

attachments, enclosures, and/or exhibits.


                   c.            For standard Documents, emails, and presentations originating in electronic

form, Documents should be produced as TIFF images using the same specifications as set forth

above for paper Documents, with a delimited text file (using the delimiters detailed below)

containing the following extracted metadata fields:


                            i.          Beginning Attachment Range;


                          ii.           Ending Production Number;


                          iii.          Beginning Attachment Range;




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                                        iv.      Ending Attachment Range;


                                        v.       Custodian;


                                        vi.      Original Location Path;


                                       vii.      Email Folder Path;


                                      viii.      Document Type;


                                        ix.      Author;


                                        x.       Title;


                                        xi.      File Name;


                                       xii.      File Ext;


                                      xiii.      File Size;


                                      xiv.       MD5 Hash;


                                       xv.       Date Last Modified;


                                      xvi.       Date Created;


                                      xvii.      Date Sent;


                                  xviii.         Time Sent [HH:MM:SS];


                                      xix.       MessageID;


                                       xx.       Date Received;


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                          xxi.        From;


                          xxii.       Recipients;


                      xxiii.          Copyees;


                      xxiv.           Blind Copyees;


                          xxv.        Pages


                      xxvi.           Email Subject;


                     xxvii.           Native link path; and


                    xxviii.           Extracted Text (not OCR Text) produced as separate .TXT files.


         21.       When converting Electronically Stored Information from its native format into its

production format: (a) all tracked changes shall be retained in the manner in which they existed

when the file was collected; (b) OLE Embedded files shall not be extracted as separate Documents;

(c) author comments shall be retained in the manner in which they existed when the file was

collected; (d) hidden columns and rows shall be retained in the manner in which they existed when

the file was collected; (e) presenter notes shall be retained in the manner in which they existed

when the file was collected; (f) auto-populated fields shall be replaced with descriptive text for the

item. For example, auto-populating “page number” fields shall be replaced with the text “PAGE

#,” auto-populating “date” fields shall be replaced with the text “DATE,” and auto-populating “file

path” fields shall be replaced with the text “PATH” (or other similar text).


         22.       Additional special processing of certain Electronically Stored Information will be

as follows: Microsoft Excel spreadsheet files will not be converted to TIFF files and will be


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produced in native format. A placeholder TIFF image will be created, Bates numbered, and the

produced Excel file will be renamed to match the Bates number on its corresponding placeholder

page. The exception will be for redacted spreadsheets which will be produced in TIFF format as

specified above. Images for the redacted spreadsheets will display the content in the same manner

as if it were printed. The extractable metadata and text will be provided for native files, and OCR

will be provided for the un-redacted portions of the Documents.


         23.       Upon review, a request may be made for certain other Documents that were initially

produced in their static (TIFF or PDF) format to be produced in their native format in the event

that the static version is not reasonably usable. Such Documents will be identified by Bates

numbers. For structured information contained within databases parties are to meet and confer on

the form of production prior to production.


         24.       Documents produced shall be provided with (i) Concordance delimited load file(s)

and (ii) Opticon delimited cross-reference file(s). Every TIFF in each production must be

referenced in the production’s corresponding load file. The total number of images referenced in

a production’s load file should match the total number of TIFF files in the production. The database

load file shall include a reference to any native files that are produced.


         25.       You shall produce all Documents responsive to any of the following Requests in

the possession or custody of any of the advisors or counsel to You.


                                            Interrogatories


         1.        State the name, address, title, and duties of the person answering these

Interrogatories and the place where the Interrogatories are answered.



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         2.        Identify any and all facts that support the Motion or which You intend to prove at

the evidentiary hearing on the Motion.


         3.        Identify any and all documents that support the Motion or which You intend to

introduce or use at the evidentiary hearing on the Motion.


         4.        Identify any and all individuals, entities, or people that have knowledge of any and

all relevant facts that support the Motion or which You intend to prove at the evidentiary hearing

on the Motion. For each such person, state the substance of the knowledge that each person has

regarding the facts all alleged in the Motion or which You intend to prove at the evidentiary hearing

on the Motion.


         5.        Identify any and all individuals, entities, or people that You intend to call as

witnesses at the evidentiary hearing on the Motion.


         6.        Identify all legal or equitable grounds on which You intend to rely in prosecuting

the Motion.


         7.        If you intend to assert that there is “cause” for the Bankruptcy Court to grant the

Motion and dismiss the Bankruptcy Case, Identify all facts supporting such alleged “cause.”


         8.        If you intend to assert that the Debtor commenced the Bankruptcy Case in “bad

faith”, Identify all facts supporting such alleged “bad faith” by the Debtor.


         9.        Identify any and all Communication You have had with any other State Court

Plaintiff concerning the Motion.




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         10.       Identify any and all Communication You have had with any other State Court

Plaintiff concerning the Bankruptcy Case.


         11.       Identify any and all Communication You have had with Love concerning the

Bankruptcy Case.


                                     Requests for Production


         12.       Any and all Communications and Documents identified in, described in,

Concerning, evidencing, or related to Interrogatories 1 through 11, above.




                                                    /s/ Bill D. Bensinger
                                                    Bill D. Bensinger
                                                    Attorney for James D. Bulger


OF COUNSEL:

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                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing was served
via the Court’s CM/ECF system, email, regular mail, and/or certified mail, return receipt
requested, on the following counsel of record on October 26, 2021.

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Wm. Wesley Causby
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Montgomery, AL 36103

Garrick L. Stotser
Massey, Stotser & Nichols, PC
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Birmingham, Alabama 35235


                                                   /s/ Bill D. Bensinger
                                                   OF COUNSEL




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE MIDDLE DISTRICT OF ALABAMA

In re:                                             )
                                                   )   Case No. 21-31333-BPC
         JAMES D. BULGER,                          )
                                                   )   Chapter 7
                   Debtor.                         )

 DEBTOR’S FIRST DISCOVERY REQUESTS TO PIKE ROAD INVESTMENTS, LLC

         Pursuant to Rules 26, 33, and 34 of the Federal Rules of Civil Procedure, made applicable

in this Contested Matter pursuant to Rules 9014, 7026, 7033, and 7034 of the Federal Rules of

Bankruptcy Procedure, James D. Bulger hereby requests that Pike Road Investments, LLC,

respond to the Interrogatories and Requests for Production in accordance with the Federal Rules

of Civil Procedure and the definitions and instructions set forth below.


                                             Definitions


         1.        “Bankruptcy Case” shall mean the bankruptcy case styled In re James D. Bulger,

case no. 21-31333-BPC, pending in the Bankruptcy Court.


         2.        “Bankruptcy Court” shall mean the United States Bankruptcy Court for the Middle

District of Alabama.


         3.        “Debtor” shall mean James D. Bulger.


         4.        “J. Kitchens” shall mean John William Kitchens.


         5.        “Love” shall mean Jesse Love.




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         6.        “Motion” shall mean that certain Joinder in the Bankruptcy Administrator’s Motion

to Dismiss this Bankruptcy Case and Request for Issuance of an Injunction Against Refiling,

Docket No. 30, filed by the Movants.


         7.        “Movants” shall mean Pike Road and J. Kitchens.


         8.        “Pike Road” shall mean Pike Road Investments, LLC.


         9.        “State Court” shall mean the Circuit Court of Autauga County, Alabama.


         10.       “State Court Case” shall mean that certain case styled Pike Road Investments, LLC,

et al, v. James D. Bulger, case no. 04-cv-2021-900069.00-BAF, pending in the State Court.


         11.       “State Court Plaintiffs” shall mean any and all plaintiffs in the State Court Case.


         12.       “Document” or “Documents” shall have the meaning prescribed by Rule 7034 of

the Federal Rules of Bankruptcy Procedure, including, without limitation, any tangible thing upon

which any expression, communication or representation has been recorded by any means

including, but not limited to, handwriting, typewriting, printing, photostating, photographing,

videotaping, magnetic impulse, computer disks, computer storage drives, computer tapes, or

mechanical, electronic or digital recording or information storage of any kind, and any non-

identical copies (whether different from the original because of notes made on such copies, because

of indications that said copies were sent to different individuals than were the originals, or because

of any other reason), including but not limited to working papers, preliminary, intermediate or

final drafts, correspondence, memoranda, electronic mail, charts, notes, records of any sort of

meetings, financial calculations, diaries, reports of telephone or other oral conversations, desk




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calendars, appointment books, and all other writings and recordings of every kind that are in your

actual or constructive possession, custody, or control.


         13.       “Identify” when referring to a Document means to state that Document’s title, date,

author, recipient, and a summary of the Document.


         14.       “Identify” when referring to a natural person means to state the person’s first and

last name and the person’s current address and telephone number, or if the current address or

telephone number are not known, the last known one(s).


         15.       “Identify” when referring to facts means to state, in as much detail as possible, all

facts and information that you know or believe to support the referenced matter or allegation,

including the date of any event, all Communications, and all circumstances relating to such

matter(s) or allegation(s).


         16.       “Identify” when referring to a Communication means to state, in as much detail as

possible, the date and time of the Communication, each of the parties to the Communication, the

physical location of the parties during the Communication, the physical means by which the

Communication transpired (e.g., in person, telephone, mailed letter, hand-delivered letter, fax, e-

mail, etc.), and the verbatim content of the Communication, or if the verbatim content is not

available, a detailed and accurate summary of the Communication.


         17.       “Relating to” and “Concerning” each mean, in addition to their usual and customary

meanings, concerning, relating to, discussing, mentioning, evidencing, embodying, constituting,

effecting, referring to, assessing, recording, analyzing, describing, evaluating, memorializing,

about, regarding, touching upon, listing, or reflecting the matter specified in the Request.



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         18.       “You” or “Your” shall refer to any person to whom these Documents requests have

been addressed and all of their current and former affiliates, parents, direct or indirect subsidiaries,

members, officers, directors, representatives, employees, agents, consultants, accountants,

attorneys, financial advisors, predecessors, successors, assigns and any other person currently or

formerly acting or purporting to act on the Person’s behalf for any purpose whatsoever.


         19.       “Any” or “each” should be understood to include and encompass “all;” “or” should

be understood to include and encompass “and;” and “and” should be understood to include and

encompass “or.”


         20.       The singular form of a word shall include the plural form, and the plural form shall

include the singular form.


         21.       The use of the present tense includes the past tense, the use of the past tense shall

include the present tense, and the use of any verb in any tense shall be construed as including the

use of that verb in all other tenses.


                                    Instructions for Interrogatories


         1.        Each Interrogatory shall be construed independently and not with reference to any

other Interrogatory.


         2.        The Debtor hereby expressly reserves the right to supplement these Interrogatories

and to propound new Interrogatories, to the extent permitted by law.




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         3.        Any objection to any Interrogatory or any part thereof shall state with specificity

the grounds for the objection. All information called for by those portions of the Interrogatory to

which there is no objection shall be answered.


         4.        If you cannot answer in full the following Interrogatories, after exercising due

diligence to secure the information necessary to do so, so state and answer to the fullest extent

possible, specifying your inability to answer the remainder and stating whatever information or

knowledge you have concerning the unanswered portions.


         5.        Each Interrogatory seeks information in your possession, custody or control,

including but not limited to those information in the custody or possession of current or former

members, subsidiaries, parents, affiliates, divisions, predecessors, successors, officers, directors,

agents, employees, representatives, consultants, or investigators, or your attorneys or their agents,

employees, representatives or investigators.


         6.        If you are aware of documents and/or information responsive to these

Interrogatories, which is not available to you or subject to your reasonable access or control,

identify any information you may have regarding the location and possessor of such documents

and/or information. If the addresses and telephone numbers of an individual or source identified

in your responses are available, please provide them.


         7.        If in answering these Interrogatories, you claim any ambiguity in interpreting either

an Interrogatory or a definition or instruction applicable thereto, you shall not use such claims as

a basis for refusing to respond, but shall identify as part of the response the language deemed to

be ambiguous and the interpretation chosen or used in responding to the Interrogatory.




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         8.        If you object to any part of an Interrogatory, produce information responsive to all

parts of the Interrogatory to which you do not object, indicating what is being withheld and the

reason it is being withheld.


         9.        These Interrogatories shall be deemed continuing in nature as specified in Fed. R.

Bankr. P. 7026(e), so as to require supplementation if you or your attorneys or agents become

aware of, receive or generate additional Documents responsive to these requests after the time of

the initial response.


         10.       If You contend that any Interrogatory asks for information that is privileged or

otherwise need not be revealed, please note the privilege or failure to reveal as an objection to the

Interrogatory and comply with the Interrogatory to the extent that it is not subject to the objection.

In addition, please supply the Debtor with a written description of the information for which a

limitation of discovery is claimed, indicating:


                   (a)    The name of the writer, sender or initiator of each such document or

communication, if any;


                   (b)    The name of the person in custody or charge or possession of each such

document, if any;


                   (c)    The name of the recipient, addressee or party for whom such document or

communication was intended, if any;


                   (d)    The date of each such document or communication, if any, or the date of

manufacture of each such document. (If you are not sure of the date of a communication, or if no

date appears on any such document, estimate a date.);


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                   (e)      The general subject matter of each such communication or the general

subject matter of each such document. With respect to documents, if no description appears, then

such other description sufficient to identify said document;


                   (f)      The name, business address and position of each person who has

information about the communication or contents or nature of any such document; and


                   (g)      The nature and grounds of the privilege or other reason for refusal to reveal

such information that you assert in support of your objection.


                                   Instructions for Document Requests


         1.        Unless otherwise specified in any request, the requests seek Documents generated,

transmitted or received.


         2.        Each request for Documents requires the production of all Documents described

herein, in your possession, custody or control, including but not limited to those Documents in the

custody or possession of current or former members, direct or indirect subsidiaries, parents,

affiliates,    divisions,    predecessors,    successors,   officers,   directors,   agents,   employees,

representatives, consultants, or investigators, or your attorneys or their agents, employees,

representatives or investigators.


         3.        All Documents are to be produced as kept in the usual course of business or

organized and labeled to correspond to the specific requests set forth below.


         4.        In responding to each request, if any Document requested has been amended

(including by an amendment and restatement), or any waiver, consent, supplement, forbearance or




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other similar instrument has been entered into in connection with such Document, furnish each

such amendment, amendment and restatement, waiver, consent, supplement, forbearance, or other

similar instrument.


         5.        In responding to each request, furnish all exhibits, schedules, annexes, appendices,

or any other ancillary Documents related to each Document produced.


         6.        All drafts of responsive Documents must be produced, as well as all non-identical

copies. Any comment, notation, or other marking shall be sufficient to distinguish Documents that

are otherwise similar in appearance and to make them separate Documents for purposes of your

response. Likewise, any draft, preliminary form, or superseded version of any Document is also to

be considered a separate Document.


         7.        To the extent applicable, furnish executed versions of each Document requested.


         8.        The file folder or other container in which a Document is kept is deemed to be an

integral part of the Document and shall be produced with the Document.


         9.        Each paragraph and subparagraph hereof and the definitions herein are to be

construed independently, and not by or with reference to any paragraph or subparagraph or

definition herein for purposes of limiting the scope of any particular request or the subject matter

thereof.


         10.       If, in answering these requests, you claim any ambiguity in interpreting either these

requests or a definition or instruction applicable thereto, you shall not use such claims as a basis

for refusing to respond, but shall identify as part of the response the language deemed to be

ambiguous and the interpretation chosen or used in responding to the request.


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         11.       If any requested Document or thing cannot be produced in full, produce it to the

extent possible, indicating what is being withheld and the reason it is being withheld.


         12.       If you object to any part of a Document request, produce Documents responsive to

all parts of the request to which you do not object.


         13.       These Document requests shall be deemed continuing so as to require

supplementation if you or your attorneys or agents become aware of, receive or generate additional

Documents responsive to these requests after the time of the initial response.


         14.       If any Document called for by these requests is withheld under a claim of privilege

or protection, that Document need not be produced but you shall with respect to that Document:


                   a.     identify each person who prepared or participated in the preparation of the

Document, and the date the Document was created;


                   b.     identify each person who ever sent or received the Document;


                   c.     state the present location of the Document and all copies thereof;


                   d.     describe the nature of the Document; and


                   e.     state the grounds asserted as the reason for non-production, and explain and

substantiate the claim of privilege, so as to permit adjudication of the propriety of that claim.


         15.       If there are no Documents responsive to a specific request, so state in writing.


         16.       If any Document requested was, but is no longer in your possession, custody or

control, state the subject matter of the Document, what disposition was made of it, and the date or



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dates on which such disposition was made. Additionally, produce all Documents concerning the

disposition of such Document.


         17.       If you are unable to locate any Document requested, state all efforts that have been

made to locate it, and identify any individual who you believe is likely to possess any information

regarding the present location of the Document.


         18.       If you know of any Documents responsive to a particular request but cannot

produce them, so state, produce the Documents within your possession, custody or control on the

subject matter sought, and identify each person whom you believe has Documents responsive to

the request.


         19.       For Documents maintained in paper format, the following specifications should be

used for production:


                   a.     Scanned images should be produced as single-page black-and-white TIFF

files in group IV format imaged at 300 dpi (or color JPEG).


                   b.     Each filename must be unique and match the Bates number of the page. The

filename should not contain any blank spaces and should be zero padded (for example

ABC00000001).


                   c.     Each production volume should have its own unique name and a consistent

naming convention (for example ZZZ001 or SMITH001).


                   d.     To the extent that Documents have been run through Optical Character

Recognition (OCR) software in the course of reviewing the Documents for production, full text




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should also be delivered for each Document. Text should be delivered on a Document level and

may be included in an appropriately formatted text file (.TXT) that is named to match the first

Bates number of the Document.


         20.       For Documents that originated and are maintained in electronic format

(“Electronically Stored Information”), the following specifications should be used for production:


                   a.            Documents should be produced in such fashion as to identify the location

(i.e., the network file folder, hard drive, backup tape, or other location) where the Documents are

stored and, where applicable, the natural person in whose possession they were found, or on whose

hardware device they reside or are stored. If the storage location was a file share or work group

folder, that should be specified as well.


                   b.            Attachments, enclosures, and/or exhibits to any parent Documents should

also be produced and proximately referenced to the respective parent Documents containing the

attachments, enclosures, and/or exhibits.


                   c.            For standard Documents, emails, and presentations originating in electronic

form, Documents should be produced as TIFF images using the same specifications as set forth

above for paper Documents, with a delimited text file (using the delimiters detailed below)

containing the following extracted metadata fields:


                            i.          Beginning Attachment Range;


                          ii.           Ending Production Number;


                          iii.          Beginning Attachment Range;




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                                        iv.      Ending Attachment Range;


                                        v.       Custodian;


                                        vi.      Original Location Path;


                                       vii.      Email Folder Path;


                                      viii.      Document Type;


                                        ix.      Author;


                                        x.       Title;


                                        xi.      File Name;


                                       xii.      File Ext;


                                      xiii.      File Size;


                                      xiv.       MD5 Hash;


                                       xv.       Date Last Modified;


                                      xvi.       Date Created;


                                      xvii.      Date Sent;


                                  xviii.         Time Sent [HH:MM:SS];


                                      xix.       MessageID;


                                       xx.       Date Received;


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                          xxi.        From;


                          xxii.       Recipients;


                      xxiii.          Copyees;


                      xxiv.           Blind Copyees;


                          xxv.        Pages


                      xxvi.           Email Subject;


                     xxvii.           Native link path; and


                    xxviii.           Extracted Text (not OCR Text) produced as separate .TXT files.


         21.       When converting Electronically Stored Information from its native format into its

production format: (a) all tracked changes shall be retained in the manner in which they existed

when the file was collected; (b) OLE Embedded files shall not be extracted as separate Documents;

(c) author comments shall be retained in the manner in which they existed when the file was

collected; (d) hidden columns and rows shall be retained in the manner in which they existed when

the file was collected; (e) presenter notes shall be retained in the manner in which they existed

when the file was collected; (f) auto-populated fields shall be replaced with descriptive text for the

item. For example, auto-populating “page number” fields shall be replaced with the text “PAGE

#,” auto-populating “date” fields shall be replaced with the text “DATE,” and auto-populating “file

path” fields shall be replaced with the text “PATH” (or other similar text).


         22.       Additional special processing of certain Electronically Stored Information will be

as follows: Microsoft Excel spreadsheet files will not be converted to TIFF files and will be


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produced in native format. A placeholder TIFF image will be created, Bates numbered, and the

produced Excel file will be renamed to match the Bates number on its corresponding placeholder

page. The exception will be for redacted spreadsheets which will be produced in TIFF format as

specified above. Images for the redacted spreadsheets will display the content in the same manner

as if it were printed. The extractable metadata and text will be provided for native files, and OCR

will be provided for the un-redacted portions of the Documents.


         23.       Upon review, a request may be made for certain other Documents that were initially

produced in their static (TIFF or PDF) format to be produced in their native format in the event

that the static version is not reasonably usable. Such Documents will be identified by Bates

numbers. For structured information contained within databases parties are to meet and confer on

the form of production prior to production.


         24.       Documents produced shall be provided with (i) Concordance delimited load file(s)

and (ii) Opticon delimited cross-reference file(s). Every TIFF in each production must be

referenced in the production’s corresponding load file. The total number of images referenced in

a production’s load file should match the total number of TIFF files in the production. The database

load file shall include a reference to any native files that are produced.


         25.       You shall produce all Documents responsive to any of the following Requests in

the possession or custody of any of the advisors or counsel to You.


                                            Interrogatories


         1.        State the name, address, title, and duties of the person answering these

Interrogatories and the place where the Interrogatories are answered.



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         2.        Identify any and all facts that support the Motion or which You intend to prove at

the evidentiary hearing on the Motion.


         3.        Identify any and all documents that support the Motion or which You intend to

introduce or use at the evidentiary hearing on the Motion.


         4.        Identify any and all individuals, entities, or people that have knowledge of any and

all relevant facts that support the Motion or which You intend to prove at the evidentiary hearing

on the Motion. For each such person, state the substance of the knowledge that each person has

regarding the facts all alleged in the Motion or which You intend to prove at the evidentiary hearing

on the Motion.


         5.        Identify any and all individuals, entities, or people that You intend to call as

witnesses at the evidentiary hearing on the Motion.


         6.        Identify all legal or equitable grounds on which You intend to rely in prosecuting

the Motion.


         7.        If you intend to assert that there is “cause” for the Bankruptcy Court to grant the

Motion and dismiss the Bankruptcy Case, Identify all facts supporting such alleged “cause.”


         8.        If you intend to assert that the Debtor commenced the Bankruptcy Case in “bad

faith”, Identify all facts supporting such alleged “bad faith” by the Debtor.


         9.        Identify any and all Communication You have had with any other State Court

Plaintiff concerning the Motion.




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         10.       Identify any and all Communication You have had with any other State Court

Plaintiff concerning the Bankruptcy Case.


         11.       Identify any and all Communication You have had with Love concerning the

Bankruptcy Case.


                                     Requests for Production


         12.       Any and all Communications and Documents identified in, described in,

Concerning, evidencing, or related to Interrogatories 1 through 11, above.




                                                    /s/ Bill D. Bensinger
                                                    Bill D. Bensinger
                                                    Attorney for James D. Bulger


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                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing was served
via the Court’s CM/ECF system, email, regular mail, and/or certified mail, return receipt
requested, on the following counsel of record on October 26, 2021.

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                                                   /s/ Bill D. Bensinger
                                                   OF COUNSEL




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